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                     UNITED STATES OF AMERICA
       U.S. DISTRICT COURT -- EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MICHIGAN URGENT CARE &
PRIMARY CARE PHYSICIANS, P.C.,


       Plaintiff,
                                               Case No. 2:15-cv-10367-AC-MKM

-vs-


ROGER H. WANG, MD,
doing business as CODER PUBLISHER
and JOHN DOES 1-10,

         STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter having come before the Court upon the stipulation of the parties,

through their undersigned counsel, and the Court being otherwise fully advised in

the premises;

       WHEREAS, the parties have negotiated a settlement, and pursuant to Fed R.

Civ. Proc. 41(a), hereby stipulate to the dismissal of Plaintiff's individual claims

with prejudice and without costs and the dismissal of Plaintiff's putative class

claims without prejudice and without costs.

       IT IS SO ORDERED.

Dated: November 30, 2015                         s/Avern Cohn
                                                 U.S. District Court Judge




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STIPULATED AND AGREED:



MICHIGAN URGENT CARE &   ROGER H. WANG, MD,
PRIMARY CARE PHYSICIANS, doing business as CODER
P.C.                     PUBLISHER

s/ Daniel A. Edelman                      s/ H. William Burdett, Jr.
By one of its attorneys                   By one of its attorneys
Daniel Edelman                            Howard W. Burdett, Jr.
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